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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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       ISSAC EFREN JIMENEZ,
 10                                                 Case No. 2:20-cv-9662-AB (MAR)
                                 Petitioner,
 11
                           v.
 12                                                 ORDER ACCEPTING FINDINGS
       RAYMOND MADDEN,                              AND RECOMMENDATION OF
 13                                                 UNITED STATES MAGISTRATE
                                                    JUDGE
 14                              Respondent.
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             Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the relevant
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      records on file, and the Report and Recommendation of the United States Magistrate
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      Judge. The Court has engaged in de novo review of those portions of the Report to
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      which Petitioner has objected. The Court accepts the findings and recommendation
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      of the Magistrate Judge.
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            IT IS THEREFORE ORDERED that Judgment be entered dismissing this
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      action with prejudice and without leave to amend.
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      Dated: October 28, 2021
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 26                                            HONORABLE ANDRÉ BIROTTE JR.
                                               United States District Judge
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